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                               EXHIBIT F
  Case: 1:16-cv-09429 Document #: 44-6 Filed: 04/18/17 Page 2 of 3 PageID #:624




From: <ann.muldoon@pnc.com>
Date: October 17, 2012 at 11:51:04 PM GMT+3
To: <haa-law@hotmail.com>
Cc: <Tiffany.Larew@pnc.com>, <janet.rife@pnc.com>
Subject: Web Wire Service

Hello Hassan - I received your email request to set up PINACLE Web Wire service. I will submit the request to
send you the required documents which you should receive in the next 2 days. Please follow the instructions to
complete and return the documents. Please contact me with any questions

PINACLE Web Wire - This service allows you to initiate a wire transfer to any domestic or international
account destination without having to visit a PNC branch. Via your on-line connection with PINACLE, you can
initiate free form or repetitive wires in either US Dollars or Foreign Currency. There is a $50 one time set-up fee
and a $25 monthly fee. The cost for each domestic wire transfer is $10 and International wires are $22.

Thank you.

Ann

Ann S. Muldoon, CTP
Vice President
Business Banking Treasury Management


PNC BANK
2810 S Highland Ave
Mail Stop D1-Y186-01-1
Lombard, IL 60148


630.743.9268 (cell)
630.620.2045 (fax)


ann.muldoon@pnc.com




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To: haa-law@hotmail.com
CC: janet.rife@pnc.com; Tiffany.Larew@pnc.com
Subject: PNC Follow-up
From: ann.muldoon@pnc.com
Date: Thu, 4 Oct 2012 16:55:53 -0500

Hello Hassan - Thank you for your time on the phone today and your interest in PNC's Business services. I
wanted to provide you with details on a few services that could assist you with moving funds more efficiently
and securely. I also want you to be aware of ways that you can reduce your exposure to potential check and
electronic payment fraud. Here are some services you may want to consider adding to your business account:

PINACLE Web Wire - This service allows you to initiate a wire transfer to any domestic or international
account destination without having to visit a PNC branch. Via your on-line connection with PINACLE, you can
initiate free form or repetitive wires in either US Dollars or Foreign Currency. There is a $50 one time set-up fee
and a $25 monthly fee. The cost for each domestic wire transfer is $10 and International wires are $22.

Deposit Now Check Scanning - We can provide you with a check scanner that will allow you to make deposits
to your business account without leaving your office. You will scan the checks and then transmit the images to
the bank by 8:00PM and receive same day ledger credit and next day availability up to $50,000. This service
will save you time, effort and ensure that you have use of deposited funds quickly. The cost for this service is
$50 per month with no per check charges and no charge for the scanner.

Business Options VISA - This credit card is a true payables solution due to its controls and
expanded reporting available. There is no fee if the annual amount spent is $100,000 or
greater. Select one of 3 different reward program options (1% cash back, travel rewards or PNC
Points) and enjoy the flexibility of making a credit card payment which will extend your cash flow
cycle.

Debit authorization - This service will allow you to set up an approved list of trading partners that are allowed
to present ACH Debits to your account. All other automatic debits that are presented to your account will be
rejected unless they are on this list. You may add or delete authorized ACH originators at any time. There is a
monthly fee of $10 for this service with a one-time $50 set-up fee.

Universal Payment Identification Code (UPIC) - This "substitute" account number is used in lieu of your
actual account and routing numbers for any trading partners that want to send an ACH Credit to your
account. As a result you do not share your actual account and routing number which provides additional
security on your account. If any kind of debit is presented to the UPIC, the transaction will reject and your
funds will be protected. The cost for this service is $5 per month with a one-time $50 set up fee.

I am also going to ask Augie Barkow from our Foreign Exchange group to contact you so that you can discuss
your needs for sending and receiving Euros easily and cost-effectively.

Please do not hesitate to contact me with any questions. Thank you.

Ann

Ann S. Muldoon, CTP
Vice President
Business Banking Treasury Management

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